Case No. 1:23-mc-00037
Gwin, J.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                              :
UNITED STATES OF AMERICA, :                         CASE NO. 1:23-mc-00037
                              :
      Petitioner,             :
v.                            :                           OPINION & ORDER
                              :                           [Resolving Doc. 47]
EATON CORPORATION,            :
                              :
      Respondent.             :
_____________________________ :

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          Earlier in this case, the Court granted the government’s petition to enforce an IRS

summons issued to Respondent Eaton Corporation as part of a federal tax audit.1 The

resulting enforcement order required Eaton to produce the performance evaluations of

certain employees at its Irish affiliate.2 As a matter of comity, the Court held that Eaton

needed to produce those evaluations even though a European Union (EU) law—the General

Data Protection Regulation (GDPR)—prohibited Eaton from doing so.3

          Eaton appealed the Court’s enforcement order.4         Following some appellate

proceedings, the Sixth Circuit returned the case to this Court on a limited remand.5 With its

remand, the Circuit instructed the Court to review the relevant evaluations in camera.6

          After conducting that review, the Court now concludes that certain employees’

evaluations are wholly irrelevant to the IRS’s audit and that Eaton need not produce those



1
  Doc. 22; see also Doc. 39.
2
  Doc. 22.
3
  Doc. 39.
4
  Doc. 41.
5
  Doc. 47.
6
    Id.
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evaluations. Regardless of where the other comity factors land, there is no good reason to

require the production of irrelevant documents in violation of foreign law.

        As for the remaining employees’ evaluations, in camera review does not appreciably

change the Court’s earlier comity analysis.

        For these reasons, the Court AMENDS its enforcement order to limit the scope of

required productions to the IRS.

                                       I.      BACKGROUND

        This case stems from an IRS audit of Respondent Eaton’s 2017–19 taxes. The audit

seeks to investigate potential transfer pricing violations. Put differently, the audit seeks to

investigate whether Eaton improperly transferred intellectual property rights to its Irish

affiliate, and paid royalties to its Irish affiliate in connection with that transfer, in violation of

U.S. tax code. Such actions raise tax concerns because they reduce Eaton’s U.S. tax burden,

where Eaton faces higher tax rates, while inflating Eaton’s Irish tax burden, where Eaton faces

lower tax rates.

        As part of its investigation, the IRS summonsed the performance evaluations of various

employees at both Eaton and its Irish affiliate. According to the IRS, these evaluations would

help it assess how much Eaton (as opposed to its Irish affiliate) contributed to the intellectual

property in question. As the argument goes, the more Eaton contributes, the more Eaton

keeps its ownership interest in the intellectual property. In turn, the more ownership Eaton

maintains, the less proper it would have been to transfer the intellectual property to Eaton’s

Irish affiliate.

        In relevant part, Respondent Eaton resisted producing its European employee

evaluations on the ground that doing so would violate the GDPR. The Court agreed that the
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GDPR blocked Eaton from producing those evaluations to the IRS.7 But even when foreign

law blocks production, U.S. courts can still order production if a comity analysis supports

doing so. The Court found that comity supported production and enforced the IRS summons.

           Eaton appealed8 and simultaneously moved the Sixth Circuit for an enforcement stay.

The Circuit granted a stay.9 The Circuit then remanded the matter back to this Court “for the

limited purposes of conducting an in camera review of the performance evaluations” to

“assist the [Court’s] comity analysis.”10 The Circuit also instructed this Court “to amend its

order enforcing the IRS summons if and how it deems necessary.”11

           The Court has received the summonsed evaluations and conducted an in camera

review. The Court now proceeds to discuss how that review affects its comity analysis and

how it amends the enforcement order.

                                             II.      DISCUSSION

           A comity analysis requires courts to weigh five factors:

              (1)    Importance of the requested documents;
              (2)    Specificity of the discovery request;
              (3)    Whether the information originated in the United States;
              (4)    Availability of alternative means for securing information; and
              (5)    Relevant U.S. and foreign interests, including the extent to which ordering
                     or not ordering production would undermine those interests.12

           When the Court previously conducted its comity analysis, it found that factors (1) and

(3) weighed against enforcement, factors (2) and (4) weighed in favor of enforcement, and



7
  Doc. 39.
8
  Doc. 41.
9
  Doc. 45.
10
   Doc. 47
11
     Id.
 The Court paraphrases the five factors identified in Société Nationale Industrielle Aérospatiale v. U.S. Dist.
12

Court for S. Dist. of Iowa, 482 U.S. 522, 544 n.28 (1987).
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factor (5) weighed strongly in favor of enforcement.13 For the most part, the Court’s in camera

review does not disturb this conclusion.

          The in camera review affects only factors (1) and (5).

          The Court begins with factor (5) because it is the most important factor.14 As the Court

held earlier, the United States has a powerful, “paramount interest” in tax collection and

investigating tax avoidance.15 The in camera review does not change this tax collection

interest.

          However, the in camera review does affect the EU’s countervailing interest, embodied

in the GDPR, in protecting its citizens’ privacy. When reviewing the evaluations at issue,

the Court found little in the way of sensitive information.                     There were no personal

identification numbers, birthdates, addresses, or the like. Nor did the evaluations contain

health information, allegations of misbehavior, or other personal details. The evaluations

dealt almost exclusively with work assignments.                  The most sensitive information they

contained was, for some employees, mildly negative performance assessments.

          To be sure, the GDPR is broad, and it covers even the non-sensitive personal

information here.16 As the Court explained in a prior order, though, the GDPR recognizes

that some personal information categories are more sensitive than others.17 The Court’s

review shows that the information here is not particularly sensitive, confirming that the EU’s



13
     Doc. 22 at 16–17; Doc. 39 at 8–11.
14
   Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1476 (9th Cir. 1992) (the “balance of
national interests” is “the most important factor”); see also Doc. 22 at 15 n.59 (collecting cases).
15
   Doc. 22 at 16.
16
   See In re Mercedes-Benz Emissions Litig., No. 16-cv-881, 2020 WL 487288, at *1 (D.N.J. Jan. 30, 2020)
(the GDPR defines personal information as “any information relating to an identified or identifiable natural
person”) (quoting GDPR Art. 4(1)).
17
   Doc. 39 at 10.
                                                      ‐4-
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privacy interest is reduced in this situation. Thus, factor (5) weighs more strongly in favor of

enforcement than the Court previously found.

            Turning to factor (1), the Court previously determined that the performance

evaluations are "not particularly important," weighing against enforcement.18 After review,

this finding remains unchanged. There is little room for this factor to shift further against

enforcement. Even if review makes the evaluations seem less important, as long as they

retain some relevance, factor (1) would only slightly shift further against enforcement.

            It is a different matter if the evaluations have no relevance at all. Irrelevant documents

would be useless to the IRS’s investigation because they would add no value. No matter

how strongly the other comity factors weigh in favor of enforcement, there is no reason to

require Eaton to produce such documents when doing so would violate the GDPR.

            On this point, the Court finds that the evaluations for Leona Farrell, Simon Mccann,

and Carole Tyler (the Non-Technical Employees) have no relevance and should not be

produced. These three Non-Technical Employees work in Human Resources, in Finance,

and as an Executive Assistant respectively. They have no role in managing intellectual

property or working on Eaton’s technologies. So, there is no basis for enforcing the IRS

summons as to the Non-Technical Employees’ evaluations.

            The evaluations for the remaining employees—Michele Berlingerio, Hugh Carr, Aoife

Geraghty, Seán Harte, Engelbert Hetzmannseder, Janík Ludek, Mark Kelly, Keith Nolan,

Eugene Ryan, and Om Tandon (the Technical Employees)—are relevant enough that the

factor (1) analysis does not change much.



18
     Id. at 17.
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        Each of these employees has at least some technical, engineering, or patent

management role. Given that the IRS’s audit focuses on an intellectual property transfer

between Eaton and its Irish affiliate, it is likely that these employees’ job responsibilities

touch on the technology at issue.19

        Admittedly, the evaluations are mostly general and make only marginal reference to

specific intellectual property. And there is little record detail that identifies the specific

intellectual property being investigated. As such, the Court cannot determine whether the

Technical Employees’ evaluations discuss that intellectual property or not. But the Court

need not do so for its comity analysis. If an evaluation discusses the intellectual property, it

supports an inference that the employee contributed to control and ownership of the

intellectual property. If the evaluation does not, then it supports an inference that the

employee did not contribute to ownership over the intellectual property even though the

employee would have been expected to. Either result helps the IRS assess whether it is Eaton

or its Irish affiliate that is responsible for and controls the intellectual property in question.

        That said, the inferences that the IRS could draw from these evaluations are weak.

The evaluations are very short—roughly four-to-five pages—and do not convey how much

time or effort an employee spent on a project. Assessing the time and effort spent on the

intellectual property, though, is crucial to determining the level of control and ownership

being exerted.




19
  The IRS has identified these employees as playing relevant roles. Although Respondent Eaton disputes that
the employees’ evaluations are relevant, Eaton does not dispute that the employees’ would be relevant as
witnesses.
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          The negative inference that can be drawn from an evaluation’s silence about the

intellectual property is even weaker. The evaluations are too short to list all that an employee

worked on. Thus, it is hard to say with confidence that an evaluation’s silence means that

employee did not work on the intellectual property.

          The weakness of these inferences shows that, although the Technical Employees’

evaluations have some marginal relevance, the evaluations are less important than the Court

originally thought. Therefore, factor (1) weighs more strongly against enforcement for those

evaluations than the Court found in its previous orders.

          This increase in factor (1)’s weight against enforcement is easily counterbalanced by

the increase in factor (5)’s weight in favor of enforcement. That is especially so because

factor (5) is the most important and is therefore entitled to greater weight than factor (1) to

begin with. The result is that comity still favors enforcement as to the Technical Employees’

evaluations.

                                       III.   CONCLUSION

          The Court AMENDS its enforcement order to exclude the Non-Technical Employees’

evaluations.     This means Respondent Eaton must produce the Technical Employees’

evaluations to the government, but not the Non-Technical Employees’ evaluations. Eaton

may still redact the produced evaluations consistent with the Court’s protective order.20 If

the Sixth Circuit affirms the Court’s decision, Eaton shall produce the Technical Employees’

evaluations upon expiration of the Circuit’s stay.

          IT IS SO ORDERED.



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     Doc. 54.
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Dated: May 12, 2025            s/   James S. Gwin
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                               UNITED STATES DISTRICT JUDGE




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